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                                                              I   Jun 27 2019
                                                             CLERK, U.S. DISTRICT COURT
 2                                                        SOUTHERN DISTRICT OF CALIFORI IA
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 8                    UNITED STATES DISTRICT COURT

 9                  SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,         )    Case No.: 19cr1849-WQH
11                                     )
                          Plaintiff,) FINDINGS AND RECOMMENDATION
12
                                     ) OF THE MAGISTRATE JUDGE
     V.
13                                   ) UPON A PLEA OF GUILTY
     Daniel Hector Mackinnon,          )
14
                                       )
15                       Defendant.    )
                                       )
16
17        Upon Defendant's request to enter a guilty plea to
18   Count 1 of the Indictment pursuant to Rule 11 of the
19   Federal Rules of Criminal Procedure, this matter was
20   referred to the Magistrate Judge by the District Judge,
21   with the written consents of the Defendant, counsel for
22   the Defendant, and counsel for the United States.
23        Thereafter, the matter came on for a hearing on
24   Defendant's guilty plea, in full compliance with Rule
25   11, Federal Rules of Criminal Procedure, before the
26   Magistrate Judge, in open court and on the record.
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 1        In consideration of that hearing and the allocution
 2   made by the Defendant under oath on the record and in
 3   the presence of counsel, and the remarks of the
 4   Assistant United States Attorney,
 5        I make the following FINDINGS - that the Defendant

 6   understands:
 7
          1.   The government's right, in a prosecution for
 8
               perjury or false statement, to use against the
 9
               defendant any statement that the defendant
10

11             gives under oath;

12        2•   The right to persist in a plea of "not guilty";
13        3.   The right to a speedy and public trial;
14
          4.   The right to trial by Jury, or the ability to
15
               waive that right and have a judge try the case
16
               without a jury;
17

18        5.   The right to be represented by counsel-and if

19             necessary to have the court appoint counsel-at
20             trial and at every other stage of the
21
               proceeding;
22
          6.   The right at trial to confront and cross-
23
               examine adverse witnesses, to be protected fro
24

25             compelled self-incrimination, to testify and

26             present evidence, and to compel the attendance
27             of witnesses;
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 1       7.    The defendant's waiver of these trial rights if
 2             the court accepts a guilty plea or nolo
 3
               contendere;
 4
         8.    The nature of each charge to which the
 5
               defendant is pleading;
 6

 7       9.    Any maximum possible penalty,          including

 8             imprisonment,    fine,       and term of supervised
 9             release;
10
         10.   Any applicable mandatory minimum penalty;
11
         11.   Any applicable forfeiture;
12
         12.   The court's authority to order restitution [if
13

14             applicable];

15       13.   The court's obligation to impose a special
16             assessment;
17
         14.   In determining a sentence, the court's
18
               obligation to calculate the applicable
19
               sentencing guideline range and to consider that
20

21             range, possible departures under the Sentencing

22             Guidelines, and other sentencing factors under
23             18 U.S.C § 3553(a);
24
         15.   Any provision in the plea agreement whereby
25
               defendant waives the right to appeal or to
26

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 1              collaterally attack the conviction and
 2              sentence; and
 3
          16.   That, if convicted, a defendant who is not a
 4
                United States citizen may be removed from the
 5
                United States, denied citizenship, and denied
 6

 7              admission to the United States in the future.

 8    further find that:
 9
          17.   The defendant is competent to enter a plea;
10
          18.   The defendant's guilty plea is made knowingly
11
                and voluntarily, and did not result from force,
12

13              threats or promises (other than those made in a

14              plea agreement); and
15        19.   There is a factual basis for Defendant's plea.
16
          I therefore RECOMMEND that the District Judge
17
     accept the Defendant's guilty plea to Count 1 of the
18
     Indictment.
19

20        The sentencing hearing will be before United States

21   District Judge William Q. Hayes, on 9/23/2019 at 9:00
22   AM. The court excludes time from 6/27/2019 through
23
     9/23/2019 pursuant to 18 USC           §   3161 (h) (1) (G) on the
24
     ground that the District Judge will be considering the
25
     proposed plea agreement.
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 1        Objections to these Findings and Recommendations
 2   are waived by the parties if not made within 14 days of
 3
     this order. If the parties waive the preparation of the
 4
     Presentence Report, objections are due within three
 5
     days of this order.
 6

 7

 8   Dated:   6/27/2019
 9                                  Hon. Michael S. Berg
10                                  United States Magistrate
                                    Judge
11

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13
     Copies to:
14   Judge William Q. Hayes
15   Assistant United States Attorney
     Counsel for Defendant
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